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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

        Plaintiff,

vs.                                                                 Case No. 92-CR-81127

GREGORY BROWN,                                                        HON. AVERN COHN

     Defendant.
______________________________/



      ORDER GRANTING MOTION TO ACCEPT PETITIONER’S REPLY AS TIMELY


        This is a criminal case. In 1997, defendant was convicted by a jury of (1)

conspiracy to posses with intent to distribute cocaine, in violation of 21 U.S.C. § 846

and § 841(a)(1), (2) intentional killing, aiding and abetting, in furtherance of a continuing

criminal enterprise (CCE), in violation of 21. U.S.C. § 848(e)(1)(A), and 18 U.S.C. § 2,

and (3) using or carrying a firearm in relation to a drug offense, in violation of 18 U.S.C.

§ 924(c). Defendant was sentenced to life imprisonment.

        Defendant then filed a motion to reduce or modify sentence under 18 U.S.C. §

3582(c). The government filed a response. The Court denied the motion. See Order

filed November 29, 2007.

        Before the Court is defendant’s motion to accept his reply to the government’s

response. The motion is GRANTED; the Court accepts defendant’s reply. However,




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having reviewed defendant’s reply, the Court is satisfied that it properly denied

defendant’s motion under § 3582(c).

      SO ORDERED.

                                          s/Avern Cohn
                                         AVERN COHN
                                         UNITED STATES DISTRICT JUDGE


Dated: December 19, 2007


I hereby certify that a copy of the foregoing document was mailed to the attorneys of
record and Gregory Brown, #07163-041, FCI Memphis, P.O. Box 34550, Memphis, TN
38184 on this date, December 19, 2007, by electronic and/or ordinary mail.


                                          s/Julie Owens
                                         Case Manager, (313) 234-5160




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